USCA Case #25-5087       Document #2115250           Filed: 05/09/2025    Page 1 of 2



                                                    U.S. Department of Justice
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                                                                       May 9, 2025
VIA CM/ECF
Clifton Cislak
Clerk, United States Court of Appeals for the D.C. Circuit
E. Barrett Prettyman United States Courthouse & William B. Bryant Annex
333 Constitution Ave., NW
Washington, DC 20001

      Re:    Talbott v. United States, No. 25-5087 (oral argument April 22, 2025)

Dear Mr. Cislak:

      We write in response to plaintiffs’ letter regarding the Department of
Defense’s May 8 memorandum. That memorandum reinstates the Department’s
policy regarding service by individuals who either exhibit symptoms of, or have a
history or diagnosis of, gender dysphoria, following the Supreme Court’s order
granting the government’s stay application in United States v. Shilling, No.
24A1030. The memorandum extends the deadline for servicemembers to elect to
voluntarily separate and directs the services to begin processing for separation those
servicemembers who have already elected to separate. Once the window for
voluntary separation closes, the memorandum directs the services to initiate the
involuntary separation process, as described in the 2025 policy and subsequent
guidance.

      Plaintiffs’ assertions of animus are unfounded. As the second sentence of the
memorandum states, the 2025 policy excludes individuals with a history, diagnosis,
or symptoms of gender dysphoria. The memorandum’s first sentence, which
references language in the President’s Executive Order, underscores that anyone
else—i.e., anyone who has never suffered from gender dysphoria and who has never
undergone related medical interventions—must serve in accordance with their sex.
That is the same requirement that existed under the Carter, Mattis, and Austin
policies, and it cannot support plaintiffs’ claim of “animus against transgender
people as a group.” Pl. Letter 1. Plaintiffs’ reliance on a social media post by
Secretary Hegseth that read aloud portions of the May 8 memorandum (including
USCA Case #25-5087       Document #2115250           Filed: 05/09/2025    Page 2 of 2



the first sentence), see id. n.1, is similarly unavailing. Ultimately, what matters is
the text of the 2025 policy, which is a “directive, neutral on its face, addressing a
matter within the core of executive responsibility.” Trump v. Hawaii, 585 U.S. 667,
702 (2018). As the government has explained, the 2025 policy is “expressly
premised on legitimate purposes,” including reducing the medical and readiness
risks associated with gender dysphoria, and this Court “must accept that independent
justification.” Id. at 706.

      In any event, the plaintiffs in Shilling made arguments concerning animus, see
No. 24A1030, Response at 2, 11, 20-21, 26-27, but the Supreme Court nonetheless
granted the government’s application for a stay. The same result is warranted here.

                                                    Sincerely,

                                                    /s/ Amanda L. Mundell
                                                    Amanda L. Mundell
